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  IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                              CENTRAL DIVISION

KEVIN WINSTON, on behalf of his minor
son K.W., GLORIA URCINO, on behalf of
her minor daughter, Y.A., ANGELICA
ESTRADA, on behalf of her minor
daughter A.P.,

      Plaintiffs,

vs.                                     STIPULATION AND PROPOSED ORDER
                                        OF PARTIAL DISMISSAL

SALT LAKE CITY THROUGH THE              Civil No. 2:12-cv-01134 TS
SALT LAKE CITY POLICE                   Judge Ted Stewart
DEPARTMENT; WEST JORDAN CITY            Magistrate Brooke C. Wells
THROUGH THE WEST JORDAN
POLICE DEPARTMENT;
SALT LAKE CITY SCHOOL DISTRICT
by and through its board; SALT LAKE
CITY CHIEF OF POLICE
CHRISTOPHER BURBANK, in his
official capacity; ACTING WEST
VALLEY POLICE DEPARTMENT
CHIEF OF POLICE ANITA
SCHWEMMER, in her official capacity;
WEST JORDAN POLICE
DEPARTMENT CHIEF OF POLICE
DOUG DIAMOND, in his official
capacity; SALT LAKE CITY SCHOOL
DISTRICT SUPERINTENDENT
MCKELL WITHERS, in his official
capacity; SALT LAKE CITY BOARD OF
          Case 2:12-cv-01134-TS Document 240 Filed 03/17/16 Page 2 of 5



EDUCATION AND ITS MEMBERS in
their official capacities; WEST HIGH
SCHOOL PRINCIPAL PARLEY
JACOBS, in his official and personal
capacities; LYMAN SMITH; NATHAN
WILEY; ALMA SWEENY; DOE
DEFENDANTS 1-8 in their official and
personal capacities; and DOE
DEFENDANT 9 in his official capacity,


       Defendants.


                                         STIPULATION

       IT IS HEREBY STIPULATED AND AGREED by the undersigned attorneys for

Plaintiffs Kevin Winston, on behalf of his minor son, K.W., Gloria Urcino, on behalf of her

minor daughter, Y.A., and Angelica Estrada, on behalf of her minor daughter A.P. (collectively

“Plaintiffs”), Defendants Salt Lake City through the Salt Lake City Police Department; the Salt

Lake City School District, by and through its board, Salt Lake City Chief of Police Christopher

Burbank, in his official capacity, Lyman Smith, Nathan Wiley, Alma Sweeny, (collectively “Salt

Lake City Police Department Defendants”), Salt Lake City School District Superintendent

Mckell Withers, in his official capacity, Salt Lake City Board of Education and its members in

their official capacities, and West High School Principal Parley Jacobs, in his official and

personal capacities (collectively “Salt Lake City School District Defendants”), that pursuant to

Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, and in recognition of the Settlement

Agreements reached between the parties, all claims against Salt Lake City Police Department

Defendants and all claims against Salt Lake City School District Defendants in the above

referenced case should be DISMISSED with prejudice.
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       Plaintiffs’ claims against West Jordan City through the West Jordan Police Department

and Defendant Doug Diamond, sued in his official capacity (collectively “West Jordan

Defendants”) are not dismissed or altered in any way through this stipulation.


       DATED this 17th day of March, 2016.


Respectfully submitted,


____/s/_Sarah Hinger__________
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___/s/ J. Elizabeth Haws_________
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                                              ORDER

       The parties having so stipulated and agreed, it is hereby SO ORDERED. All claims

against Salt Lake City Police Department Defendants and all claims against Salt Lake City

School District Defendants in the above referenced case are DISMISSED with prejudice. The

Clerk is directed to send copies of this Order to all counsel of record.


DATED this ____ day of March, 2016.




                                                              _____________________________
                                                              The Honorable Ted Stewart
                                                              United States District Court Judge
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                               CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the 17th day of March, 2016, I caused a true and correct copy of
the foregoing Stipulation and Proposed Order of Partial Dismissal, to be served upon counsel of
record via the ECF system.
                                        /s/ Sarah Hinger
